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 8                                UNITED STATES DISTRICT COURT
                                 WESTERN DISTRICT OF WASHINGTON
 9                                      SEATTLE DIVISION

10   SUZANNE C.,                                          Civil No. 2:20-CV-00444-MLP

11            Plaintiff,

12            vs.                                          ORDER

13   COMMISSIONER OF SOCIAL SECURITY,

14            Defendant.

15            Based on the stipulation of the parties it is hereby ORDERED that the above-captioned

16   case be reversed and remanded, pursuant to sentence four of 42 U.S.C. § 405(g), for further

17   administrative proceedings.

18            On remand, the Social Security Appeals Council will direct the Administrative Law

19   Judge to take all steps necessary to reassess Plaintiff’s residual functional capacity consistent

20   with Social Security Ruling (SSR) 96-8p; reevaluate non-medical source opinions; and continue

21   with the sequential evaluation, as necessary.

22            Upon proper presentation, this Court will consider Plaintiff’s application for costs and

23   attorney’s fees under 28 U.S.C. § 2412(d).

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25   Page 1         ORDER - [2:20-CV-00444-MLP]

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               Case 2:20-cv-00444-MLP Document 23 Filed 11/04/20 Page 2 of 2



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              DATED this 4th day of November, 2020.
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 3                                                    A
                                                      MICHELLE L. PETERSON
 4                                                    United States Magistrate Judge

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 6
     Presented by:
 7
     s/ Ryan Lu
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     Special Assistant United States Attorney
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25   Page 2      ORDER - [2:20-CV-00444-MLP]

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